          Case 16-60447-mgd                   Doc 8 Filed 06/23/16 Entered 06/23/16 15:02:55                                          Desc Ch 11
                                                   First Mtg Corp/Part Page 1 of 2
 Information to identify the case:
 Debtor         David and Verda DiCorte Revocable Trust                                         EIN 20−7341336
                Name



 United States Bankruptcy Court Northern District of Georgia                                    Date case filed for chapter 11 6/15/16
 Court website: www.ganb.uscourts.gov

 Case number: 16−60447−mgd

Official Form 309F (For Corporations or Partnerships)

Notice of Chapter 11 Bankruptcy Case                                                                                                                        12/15


For the debtor listed above, a case has been filed under chapter 11 of the Bankruptcy Code. An order for relief has been
entered.
This notice has important information about the case for creditors, debtors, and trustees, including information about the
meeting of creditors and deadlines. Read both pages carefully.
The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not take action to collect debts from
the debtor or the debtor's property. For example, while the stay is in effect, creditors cannot sue, assert a deficiency, repossess property, or otherwise try to
collect from the debtor. Creditors cannot demand repayment from the debtor by mail, phone, or otherwise. Creditors who violate the stay can be required to
pay actual and punitive damages and attorney's fees.
Confirmation of a chapter 11 plan may result in a discharge of debt. A creditor who wants to have a particular debt excepted from discharge may be required to
file a complaint in the bankruptcy clerk's office within the deadline specified in this notice. (See line 11 below for more information.)
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at the address listed below or
through PACER (Public Access to Court Electronic Records at www.pacer.gov). Copy fees or access charges may apply. A free automated response system
is available at 866−222−8029 (Georgia Northern). You must have case number, debtor name, or SSN when calling.

The staff of the bankruptcy clerk's office cannot give legal advice.

Do not file this notice with any proof of claim or other filing in the case.



  1. Debtor's full name                        David and Verda DiCorte Revocable Trust


  2. All other names used in the
     last 8 years


  3. Address                                   931 Monroe Drive
                                               #A−102319
                                               Atlanta, GA 30308


  4. Debtor's attorney                         Pro Se
      Name and address


  5. Bankruptcy clerk's office                M. Regina Thomas                                              Office Hours: 8:00 a.m. − 4:00 p.m.
      Documents in this case may be filed     Clerk of Court
      at this address.                                                                                      Court website: www.ganb.uscourts.gov
      You may inspect all records filed in    1340 Russell Federal Building
      this case at this office or online at
      www.pacer.gov.                          75 Ted Turner Drive SW                                        Contact phone 404−215−1000
                                              Atlanta, GA 30303


  6. Meeting of creditors                      July 20, 2016 at 01:00 PM                                     Location:
      The debtor's representative must
      attend the meeting to be questioned    The meeting may be continued or adjourned to a later date.      Third Floor − Room 367, Russell
      under oath.                            If so, the date will be on the court docket.                    Federal Building, 75 Ted Turner Drive
      Creditors may attend, but are not
      required to do so. Cellular phones and                                                                 SW, Atlanta, GA 30303
      other devices with cameras are not
      allowed in the building.

                                                                                                                For more information, see page 2 >



Official Form 309F (For Corporations or Partnerships)                       Notice of Chapter 11 Bankruptcy Case                                           page 1
         Case 16-60447-mgd                    Doc 8 Filed 06/23/16 Entered 06/23/16 15:02:55                                            Desc Ch 11
                                                   First Mtg Corp/Part Page 2 of 2
Debtor David and Verda DiCorte Revocable Trust                                                               Case number 16−60447−mgd


  7. Proof of claim deadline                  Deadline for filing proof of claim: Not yet set. If a deadline is set, the court will send you
                                              another notice.

                                              A proof of claim is a signed statement describing a creditor's claim. A proof of claim form may be obtained at
                                              www.uscourts.gov or any bankruptcy clerk's office.

                                              Your claim will be allowed in the amount scheduled unless:

                                                        • your claim is designated as disputed, contingent, or unliquidated;
                                                        • you file a proof of claim in a different amount; or
                                                        • you receive another notice.
                                              If your claim is not scheduled or if your claim is designated as disputed, contingent, or unliquidated, you must
                                              file a proof of claim or you might not be paid on your claim and you might be unable to vote on a plan. You
                                              may file a proof of claim even if your claim is scheduled.

                                              You may review the schedules at the bankruptcy clerk's office or online at www.pacer.gov.

                                              Secured creditors retain rights in their collateral regardless of whether they file a proof of claim. Filing a proof
                                              of claim submits a creditor to the jurisdiction of the bankruptcy court, with consequences a lawyer can explain.
                                              For example, a secured creditor who files a proof of claim may surrender important nonmonetary rights,
                                              including the right to a jury trial.


  8. Exception to discharge                   You must start a judicial proceeding by filing a complaint if you want to have a debt excepted from discharge
     deadline                                 under 11 U.S.C. § 1141(d)(6)(A).
      The bankruptcy clerk's office must
      receive a complaint and any required    Deadline for filing the complaint:
      filing fee by the following deadline.


  9. Creditors with a foreign                 If you are a creditor receiving notice mailed to a foreign address, you may file a motion asking the court to
     address                                  extend the deadlines in this notice. Consult an attorney familiar with United States bankruptcy law if you have
                                              any questions about your rights in this case.


  10. Filing a Chapter 11                     Chapter 11 allows debtors to reorganize or liquidate according to a plan. A plan is not effective unless the court
      bankruptcy case                         confirms it. You may receive a copy of the plan and a disclosure statement telling you about the plan, and you
                                              may have the opportunity to vote on the plan. You will receive notice of the date of the confirmation hearing,
                                              and you may object to confirmation of the plan and attend the confirmation hearing. Unless a trustee is serving,
                                              the debtor will remain in possession of the property and may continue to operate its business.


  11. Discharge of debts                      Confirmation of a chapter 11 plan may result in a discharge of debts, which may include all or part of your debt.
                                              See 11 U.S.C. § 1141(d). A discharge means that creditors may never try to collect the debt from the debtor
                                              except as provided in the plan. If you want to have a particular debt owed to you excepted from the discharge
                                              under 11 U.S.C. § 1141(d)(6)(A), you must start a judicial proceeding by filing a complaint and paying the filing
                                              fee in the bankruptcy clerk's office by the deadline.




Official Form 309F (For Corporations or Partnerships)                       Notice of Chapter 11 Bankruptcy Case                                              page 2
